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Darcey Martin

From: John Reed [kfed@email.com]

Sent: Monday, January 19, 2009 11:15 AM
To: Darcey Martin

Subject: RE: funding??

Darcey,

1 have given Frank and Jim Thursday of this week as a final deadline for providing me with the 160K I asked
for, In the event they cannot prove the Sands of Gold is still viable by providing the funds, I and a few other
investors are will take legal action the following day.

Many, if not most of the other investors will have SOP money due in the uext month or 2, & I would rather not
be 1 of 130 or so people trying to get 25 million out of a property worth maybe 5 million. | want to move now

with a small number of people so our chances of a full recovery of all funds owed to us are higher — we will be

first in ine. A week or 2 after this Ist suitc has commenced and our ist position is guaranteed, we will follow it
up with a class action suite in which all investors are invited to join. I would like to invite you to parlicipate in

the ist suite.

‘The information you have will be very helpful, and the time between freezing the bank accounts, real property,
etc. of Frank, Jim, and all related entities and actually collecting the debt should be much shorter if we can
access the information you have. I assume you signed the same non disclosure agreement T did; that agreement
does allow for the sharing of information with your attorney.

Our council is entirely capable of collecting against any remaining domestic assets, and even Mexican assets as
evidenced by their track record and willingness to take this with a contingency fee. If you are willing fo
participate I will give you the contact information for Dan Harris at Tlarris & Moure. He came highly
recommended, and I encourage you to look at the firm’s track record at:

hitp://www. harrismoure.com/representative-work.himl

Please let me know very soon.
Thank you for your consideration,

John Reed

PS: Were you aware that Investforclosures Ventures was dissolved by the government on June 13, 2008?
http://www. ilsos.gov/corporatellc/CorporateLicController

> --u- Original Message -----

> From: "Darcey Martin" <darcey.martin@d2dsolutions.com>
> To: "John Reed <kfed@email.com>

> Subject: RE: fundinyg??

> Date: Thu, 11 Dec 2008 06:09:49 -0500

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EXHIBIT.

Received  Jul-30-09 12:08pm From To-Campion Curran Dunlo

   
  
 

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ul 30 08 (OA29%M9Q-cy-01221 Document #: 123-2 Filed: 08/05/09 Page 2 of 3 PagelD #:1147 $

> John,

>

> Iam praying for the funds in by Christmas. Frank has promised

> another update this week, all good news he said...... Lam pushing to

> get an Investor Intentions letter out that I had drafied months ago to figure out
~ where all investors stood as far as cashing out, etc. I am looking for
> that okay to send out in the next week or so since Christmas is 2

> weeks away from today.

>

> 1 am pushing from this direction as well as the board is pushing, and
> as stated in his update he is expecting to get funded by one source or
> another by Christmas.

>

> And I understand that you and Sarah have to do what you have to do.
> Each individual needs to do what they have to do. Let's pray it

> doesn't get to that.

>

> Darcey L. Martin, CCFC

> Financial Specialist

> email: darcey.martin@d2dsolutions.com

> blog: www.debt2dreams. wordpress.com

> phone: 863-875-1220

> fax: 863-875-1143

> Check out Darcey's latest on her Money Blog, add it to
> your RSS feeds, it is a must read in this economic environment.
>

Dennen Original Message----~

> From: John Reed [mailto:kfed@email.com]

> Sent: Thursday, December 11, 2008 12:28 AM
> To: Darcey Martin

> Subject: RE: funding??

>

> Darcey,

>

> Did you have any luck convincing Frank to sell the property to those
> people who made that 100m offer?

>

> Although I hate the thought of going this route, 1 have contacted a

> law firm that can handle a case like this. I really don't know what

> else to do, and I cannot help but think that 12 + months of working on
> closing just 1 deal has been enough time. | assume the attorney will
> push for a class action suite of some kind.

>

> Sarah and I have discussed this, and have agreed to wait until January
> before actually taking any action. If there are no funds disbursed by
> early January, T will talk to Frank about this myself, Sarah and I

> feel that our family has gone long enough without the use of our funds.
~

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> I hope none of this is necessary.

Ms,

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>

 

 

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YVVVVVV

> > -ne Original Message -----

> > From: "Darcey Martin" <darcey. martin@d2dsolutions.com>

> > To: “John Reed" <kfed@email.com>

> > Subject: RE: funding??

> > Date: Thu, 6 Nov 2008 08:17:17 -0500 |

>>

> >

> > John,

>>

> > It does seem like it doesn't it..... There should be an update out
> > today, was supposed to be out yesterday. Good news though is the
> > Tyler guy is FINALLY done with the other deal that he had been

> > “wrapping up" for months...... So he is now focused on this deal.
> > I think these broker

> guys

> > come in and say we can do it we can do it, and it fizzies. The

> > master funding is on hold, I guess the Europe bonding area needs to
> > figure out
> what
> > they are doing prior to committing to anything else, which is wise.
>> It
> will
> > have to be "private", meaning a big investor would come in, hence,
> > enter this Tyler guy. I am encouraging them to go back and find the
>> "Tl buy
> the
> > project for 100M" people and pitch it again so it would be done and
> > the investors would be paid out and Frank can go on and do whatever
> > he wants moving forward. We have moved to the next step and I have
> > created an “intentions survey", that lays out differcnt
> > options/structures. Once
> money
> > is in hand, each investor will have to fill it out, get it signed
> > and send it back in. But this won't happen until the moncy is in
> > hand, I will be assisting with being the administrator of this, so
> > that we can put it all into spreadsheets with what I have already
> > put together, so it can be
> neat,
> > orderly and speedy!
>>
> >I do know the "board" is doing their part by pushing Frank to move
> > all fronts forward and requesting frequent updates and meetings to
> > discuss progress. This was not happening but is now happening since Oct.
> >
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